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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA

Criminal No. 1:25-CR-44
v.

ABDULLAH EZZELDIN TAHA MOHAMED
HASSAN,

Defendant.

ORDER

The United States of America, having applied for the appointment of a Classified
Information Security Officer and alternates pursuant to the Classified Information Procedures Act,
18 U.S.C. App. III (“CIPA”) and Section 2 of the Security Procedures established pursuant to Pub.
L. 96-456, 94 Stat. 2025 by the Chief Justice of the United States and promulgated pursuant to
Section 9 of CIPA, it is hereby ORDERED AND DECREED that the application is GRANTED.

It is further ORDERED, in accordance with Section 9 of CIPA and the Security Procedures
promulgated under Section 9, that the Court designates Harry J. Rucker as the Classified
Information Security Officer in this case. It is further ORDERED that the Court designates the
following persons as Alternate Classified Information Security Officers, to serve in the event Mr.
Rucker is unavailable: Jennifer H. Campbell, Daniel O. Hartenstine, Daniella M. Medel, Matthew

W. Mullery, William S. Noble, and Winfield S. “Scooter” Slade.
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It is further ORDERED that the designated Classified Information Security Officer and
alternates shall perform the functions and carry out the duties and responsibilities prescribed in

the Security Procedures promulgated under Section 9 of CIPA.

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Jrion. Rossie D. Alston/Ir.

UNITED STATES DISTRICT JUDGE

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Mon ct. s 2025
